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                            UNITED STATES DISTRICT COURT
 9
                          NORTHERN DISTRICT OF CALIFORNIA
10
                               SAN FRANCISCO DIVISION
11
12   UNITED STATES OF AMERICA,           )   No. CR 05-00395 CRB
                                         )
13                     Plaintiff,        )   [PROPOSED] ORDER EXCLUDING TIME
                                         )   FROM JULY 27, 2005 TO SEPTEMBER 7,
14                     v.                )   2005 UNDER THE SPEEDY TRIAL ACT
                                         )
15   YOUNG JOON YANG, aka Yang,          )
     WU SANG NAH, aka Kang               )
16   SUNG YONG KIM, aka Nam, aka Mr. Kim,)
     HANG JOE YOON, aka Mr. Lee,         )
17   MYONG SU AHN, aka Paula Lee,        )
     NAM YOUNG LEE,                      )
18   FRED A. FRAZIER,                    )
     TRONG DU NGUYEN, aka John           )
19   AHDI M. NASHASHIBI,                 )
     YOUNG JOO LEE,                      )
20   MIN YOUNG BANG,                     )
     IN SEUNG KIM,                       )
21   SEYUN KIM,                          )
     EUGENE YI,                          )
22   CHANG SOO YOUN,                     )
     MO SOOK YANG,                       )
23   KEUN SUNG LEE, aka Kenneth,         )
     MYUNG JIN CHANG,                    )
24   WON SEOK YOO,                       )
     JIMMY GONG YAN LEE,                 )
25   AESUN KIM, aka Mami,                )
     HYEON J. PARK,                      )
26   ANTHONY GAR LAU,                    )
     MI YOUNG SIM, aka Jackie,           )
27   KUM PAE YI,                         )
     HAN LEE,                            )
28   HYE CHA KIM, aka Kelly,             )
     JIN AH KANG,                        )
     YON SUK PANG, aka Nana,             )
                                         )
                       Defendants.       )
     ____________________________________)
     //
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 1            On July 27, 2005, defendants in the above-captioned matter appeared, with counsel,
 2   before the Court for a status conference.1 Assistant United States Attorney Peter B. Axelrod and
 3   Department of Justice Trial Attorney Andrew Kline appeared on behalf of the United States.
 4            The parties agreed to a continuance of the matter to September 7, 2005, and a
 5   corresponding exclusion of time under the Speedy Trial Act ( 18 U.S.C. § 3161), to provide
 6   defense counsel with sufficient time to obtain and review additional discovery including,
 7   voluminous wire intercepts in the Korean language, the TIII pleadings, search warrant documents
 8   and reports relating to alien females in immigration proceedings.
 9            Accordingly, the Court HEREBY ORDERS that the matter is continued to September 7,
10   2005, at 1:30 p.m. in the secure Courtroom on the 17th Floor for a status conference before this
11   Court.
12            The Court FURTHER ORDERS that the time from July 27, 2005 to September 7, 2005 is
13   excluded under the Speedy Trial Act, 18 U.S.C. § 3161. For the reasons set forth above, the
14   Court finds that the failure to grant the requested exclusion would deny defense counsel
15   reasonable time necessary for effective preparation taking into account the exercise of due
16   diligence. Further, the Court finds the exclusion warranted on complexity grounds, under 18
17   U.S.C. § 3161(h)(8)(B)(ii), based on the number of defendants (29 charged), the number of calls
18   on the wire (exceeding 22,000) and the fact that the vast majority of the calls are in the Korean
19   language. Thus, the Court finds that the ends of justice served by granting the requested
20   exclusion outweigh the best interest of the public and the defendant in a speedy trial and in the
21   prompt disposition of criminal cases. The Court therefore concludes that this exclusion of time
22   should be made under 18 U.S.C. §§ 3161(h)(8)(A), (h)(8)(B)(ii) and (h)(8)(B)(iv).
23   IT IS SO ORDERED.                                                 ISTRIC
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     DATED: August 09, 2005
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25                                                 CHARLES R. BREYER
                                                                                         RT




                                                   UNITED STATES DISTRICT
                                                                       D JUDGE
                                                      UNIT




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26                                                                  APPRO
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              All of defendants, except Wu Sang NAH and Sung Yong KIM (neither       er of whom had
                                                                             R. Brey
                                                      NO




28   been arrested), were present at the hearing.                     r le s
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                                                          Judge C
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